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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                                                                           ADDENDUM TO ORDER
                                   4     ILLUMINA, INC., et al.,                           REGARDING JOINT RENEWED
                                                        Plaintiffs,                        ADMINISTRATIVE MOTION TO FILE
                                   5                                                       UNDER SEAL
                                                 v.                                        Case No. 19-cv-03770-WHO
                                   6
                                                                                           Re: Dkt. No. 460, 465, 469, 494
                                   7     BGI GENOMICS CO., LTD, et al.,
                                                        Defendants.                        Case No. 20-cv-1465-WHO
                                   8                                                       Re: Dkt. No. 506, 512, 516, 539
                                   9

                                  10          In my prior order on the parties’ joint renewed administrative motion to file under seal
                                  11   (“Order”), I deferred my ruling on the sealing issue of business discussions between a third-party,
                                  12   Qiagen, and BGI until after the November 10, 2021, hearing. Dkt. No. 494 (“Order”) at 2–3.
Northern District of California
 United States District Court




                                  13   During the hearing, Illumina agreed to submit the two email threads on which it plans to rely so
                                  14   that I could review whether or not it contains sealable information.
                                  15          I have reviewed the highlighted portions of the two email threads and find that they do not
                                  16   contain sealable language that meets the compelling reasons standard for the reasons previously
                                  17   stated in my Order. The highlighted portions should therefore be UNSEALED. Illumina’s motion
                                  18   for administrative relief, Dkt. No. 469 is GRANTED, and it may file a revised version of its
                                  19   opposition to BGI’s motion in limine no. 5 publicly. BGI’s motion to seal its revised version, Dkt.
                                  20   No. 460, is DENIED and the clerk shall UNSEAL Dkt. Nos. 460-6 and 460-8. Finally, BGI’s
                                  21   motion to seal its opposition to Illumina’s motion, Dkt. No. 465 is also DENIED, and the clerk
                                  22   shall UNSEAL Dkt Nos. 465-3 and 465-6.
                                  23          IT IS SO ORDERED.
                                  24   Dated: November 14, 2021
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                                  26                                                                William H. Orrick
                                                                                                    United States District Judge
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